Case 8:08-cv-00868-AG-AN Document 93-1 Filed 08/29/11 Page 1 of 3 Page ID #:1339



   IROBERTJ. WOLFE,ESQ.(StateBarNo. 131582)
    ENGSTROM,LIPSCOMB& LACK
  2 10100SantaMonicaBoulevard,lzth Floor
    Los Angeles,Califomia90067-4107
  a
  J PH: (310)5s2-3800
    FX: (3l0) 5s2-9434
  4
       Attorneysfor Plaintiffs
   5   KUNTZ MFG. CO.. INC.
   6



   8                               LINITED STATESDISTRICTCOURT
   9                             CENTRALDISTRICTOF CALIFORNIA
  10

  1 1 KUNTZ MFG. CO." INC.. a California                                AG (ANx)
                                                      CASENo. SACV08-00868
      corporation,
  I2
                              Plaintiff,              PROOF OF SERVICE
  13
            v.
  I4
      BIOSITE INCORPORATED, A
  1 5 Delawarecorporation,and DOES 1
      through 10,
  I6
                              Defendant.
  t7

  18

  I9          I am employedin the County of Los Angeles,Stateof Califomia. I am overthe ageof

  20   18 and not a parfyto the within action;my businessaddressis 10100SantaMonica Boulevard,

  2T   12th Floor, Los Angeles, California 90067. On August 29, 2011, I served the document

  22 describedas:

  LJ                                  NOTICE OF SETTLEMENT

  24
         r'          (BYELECTRONIC TRANSFER) I causedall of the pagesof the above-entitled
  25
                     document(s)to be sent to the recipientsnoted above via electronictransfer
  26
                                                           indicatedin the ServiceList attached.
                     (EMAIL) at therespectiveEmail addresses
  27
                     This documentwas transmittedby Email and transmissionreportedcomplete
  28
                     without effor.
                          To BIoslrE INCoRPoRATED's
       F[A1[trlpp'sRESpoNSE
       THIRDSETOFDOCUMENT    REQUESTS                                                   AG (ANx)
                                                                              SACV08-00868
Case 8:08-cv-00868-AG-AN Document 93-1 Filed 08/29/11 Page 2 of 3 Page ID #:1340



   I                 FEDERAL: I declarethat I am employedin the office of a memberof the bar of

  2                  this court at whose direction the servicewas made.
   a
   J



   4         Executedon August 29,2011 at Los Angeles,California.

   5

   6



   8

   9
  10

  11

  l2

  13

  t4

  15

  I6

  t7

  18

  19

  20

  2I

  22
  z)

  24
  25
  26
  27
  28

                          ro BIoslrE INCoRPoRATED's
                   RESpoNSE
       FilA3t5.trtpp's
       THIRDSETOFDOCUMENT    REQUESTS                                                    AG (ANx)
                                                                              SACV08-00868
Case 8:08-cv-00868-AG-AN Document 93-1 Filed 08/29/11 Page 3 of 3 Page ID #:1341



   1                                            SERVICELIST
   2                         Kuntz Mfg. Co.,Inc. v. BiositeIncorporated,et al.
                                      United StatesDistrict Court
   a
   J                                  CentralDistrict, SantaAna
                                   CaseNo. SACV08-00868      AG (ANx)
   4

   5                                      ]T



   6   Nadia P. Bermudez,Esq.                     PH:619-564-8400         Attorneys for Defendant
       Garcia Calderon Ruiz, LLP                  FX: 619-564-8404        Biosite Incorporated
       625 Broadway, Suite 1400                                 gal.cot11
                                                  nbermudez@scrle
       SanDiego, CA9210l
   8
       Kenneth S. Leonetti, Esq.                  PH:617-832-1000       Of Counselfor Defendant
   9   David E. Cole, Esq.                        FX: 617-832-7000      Biosite Incorporated
       Foley Hoag LLP                                             g.
                                                                   corn
                                                  kleonetti@folevhoa
  10   SeaportWorld Trade Center West             dcole@fole)rhoag.com
       155 SeaportBoulevard
  11   Boston,}l{A02210

  12

  13

  I4

  15

  16

  17

  t8

  t9

  20

  2l

  22

  LJ



  24
  25
  26
  27
  28

                           To BIoslrE INCoRPoRATED's
       illffilhlprs RESpoNSE
       THIRDSETOFDOCUMENT     REQUESTS                                                          AG (ANx)
                                                                                      SACV08-00868
